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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

UNITED STATES                   *
                                *
    v.                          *      CRIM. NO. 19-411 (BRM)
                                *
JOHN INFANTE                    *
                                *
                              *****
  ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING
             FOR FELONY PLEAS AND/OR SENTENCINGS

        In accordance with Standing Order 2020-06, this Court finds:

  ✔      That the Defendant (or the Juvenile) has consented to the use of video

teleconferencing/teleconferencing to conduct the proceeding(s) held today, after consultation

with counsel; and

  ✔      That the proceeding(s) to be held today cannot be further delayed without serious harm

to the interests of justice, for the following specific reasons:

See Attachment A.



Accordingly, the proceeding(s) held on this date may be conducted by:
   ✔      Video Teleconferencing

          Teleconferencing, because video teleconferencing is not reasonably available for the

following reason:

                  The Defendant (or the Juvenile) is detained at a facility lacking video

        teleconferencing capability.

                  Other:




Date:      10/19/2020
                                                                   Honorable Brian Martinotti
                                                                   United States District Judge
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                                ATTACHMENT A
       The Court finds that the sentencing to be held on October 19, 2020,
cannot be further delayed without serious harm to the interests of justice, for
the following reasons:
       1.      To ensure that the Court is not overwhelmed by cases and
proceedings at the conclusion of this period of emergency. Currently, District
Judges in New Jersey handle a substantially larger docket of cases than
Judges in other Districts in the United States. New criminal cases continue to
be assigned by the Court during the emergency. If the Court cannot resolve
matters by guilty plea and sentencing, the resulting backlog will overwhelm the
Court’s ability to effectively function. The concern of such congestion and the
particular harm that likely will be caused by delays in the processing of cases
and matters in the future is particularly acute in this emergency, at least given
that: (1) it is unknown when this emergency will subside and when the Court
will be able to function at normal capacity (including, among other things, the
empanelment of trial juries) and (2) this District’s pre-existing shortage of
District Court Judges which already has challenged the Court’s ability to
process and resolve cases. This District has six District Judge vacancies: two
have been pending for more than five years; one has been pending almost three
years; two have been pending for more than a year; and one has been pending
almost a year. The Federal Judicial Conference has deemed the District’s six
vacancies judicial emergencies.
     2.     To permit the defendant, John Infante (“INFANTE”), to obtain a
speedy resolution of his case through sentencing. Defendant INFANTE has
asked for this case to be resolved.
      3.    To permit the Government to obtain a resolution of the case so that
the Government, already operating in a restricted capacity due to the
emergency, may appropriately focus its resources on other, emerging criminal
matters. The Government has asked for this case to be resolved today with a
timely sentencing.
        4.     To prevent overcrowding at the facilities housing pre-trial
detainees. The detention facilities have a limited capacity. Detainees are
transferred from the detention facilities to prison facilities only after they have
been found guilty and sentenced. There is a constant influx of new detainees
admitted to the detention facilities. If detainees cannot be transferred to prison
facilities, the resulting backlog of detainees will overwhelm the detention
facilities.
